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                                 Amended Exhibit B
   Plaintiff Name                     Cause Number    Lead Counsel
   Frazier, Bennie and Charcie        1:17-cv-02187   FLINT COOPER, LLC
   Maples, Gypsy                      1:18-cv-03033   MCSWEENEY LANGEVIN LLC
   Simes, Lisa                        1:19-cv-02517   MCSWEENEY LANGEVIN LLC
   Florence, Mylea                    1:19-cv-02780   MCSWEENEY LANGEVIN LLC
   Henning, Michael                   1:19-cv-03885   MCSWEENEY LANGEVIN LLC
   Delaney, Christine                 1:19-cv-04265   MCSWEENEY LANGEVIN LLC
   Mills, Jeffery                     1:19-cv-04807   FLINT COOPER, LLC
   Hereid, James                      1:20-cv-00368   BEN MARTIN LAW GROUP
   Robbins, Joyce                     1:20-cv-06130   BEN MARTIN LAW GROUP
   Beck, Lisa                         1:20-cv-06132   BEN MARTIN LAW GROUP
   Turner Jr, Edgar                   1:21-cv-00806   MCSWEENEY LANGEVIN LLC
   Saunders, Shirley                  1:21-cv-06486   MCSWEENEY LANGEVIN LLC
   James, Edward D.                   1:21-cv-06676   BEN MARTIN LAW GROUP
   Wilson, William                    1:21-cv-06694   BEN MARTIN LAW GROUP
   Williams, James Edward             1:22-cv-06723   BEN MARTIN LAW GROUP




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